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       UNITED STATES DISTRICT COURT - DISTRICT OF KANSAS
 United Capital Management of Kansas, Inc.        DOCKET NO.:
 [UCMK]                                           5:22-CV-04008-JWB-GEB
                                                              CIVIL ACTION
 and

 CHAD M. KOEHN [Koehn]                                         Refile of Doc 117
                                                  Motion for Judicial Notice as to Regulatory
                plaintiffs, counter-Defendants        Filings, Secretary of State Filings,
       v.                                          Disclosures and LAWSUITS regarding
 Michael Nelson [Nelson]                                  UCM and Chad M. Koehn
                defendant; Counter-Plaintiff
 PRO-Se.                                          [Jury Trial Demanded]


       Defendant, makes “SPECIAL & LIMITED APPEARANCE” here and now for the

purposes of filing Refile of Doc 117, Motion for Judicial Notice as to Regulatory Filings

made by Chad Mitchell Koehn under PENALTY of PERJURY and filings of those

companies related to Chad M. Koehn and LAWSUIT involving companies to which Chad

Mitchell Koehn owes fiduciary responsibilities EXHIBITS A through L, referenced herein

below as to the points for which JUDICIAL NOTICE is now so herein requested with the

information so provided for Judicial Notice, defendant states:



1) Exhibit “A”, disclosure document of plaintiff made by plaintiff June 2021

Judicial Notice under FRCP Rule 201, can be readily determined and viewed by the Court, at the

following URL (Uniform Resource Locator):

https://static.fmgsuite.com/media/documents/6c9c702c-f1da-437b-a466-cceab07e50d8.pdf

Chad Mitchell Koehn’s own disclosure document as referenced herein above wherein on page

20, Chad Mitchell Koehn states: “Other Business Activity of Company Principal Chad Koehn,

President of United Capital Management is a member of the Board of Directors of Anthem
                                                                                                      2

Holdings Company. In his position as a member of the Board of Directors he is compensated by

Receiving shares of stock and/or warrants to obtain shares in the company. Mr. Koehn has an

incentive to recommend Anthem Holdings Company . This is a conflict of interest, and

consequently the investment advice provided by Mr. Koehn is biased.” see page 20, of Exhibit

“A” attached herewith, this information is being specifically provided as Exhibit “A” is a lengthy

document and opposing counsel are fond of pointing to Khoja v. Orexigen Therapeutics, 899

F.3d 988, 999 (9th Cir. 2018), cert. denied ___ U.S. ___, 139 S.Ct. 2615, 204 L.Ed.2d 264

(2019); wherein here the specific facts within Exhibit “A” a disclosure by the plaintiffs made as

required under penalty of perjury, references “Anthem Holdings Company” with specificity, and

it is the above referenced sentences made by the plaintiffs themselves on the disclosure statement

presented as Exhibit “A” which the Courts attention is so drawn as to Judicial Notice. As in

Khoja: “the SEC generally qualifies as a "source[ ] whose accuracy cannot reasonably be

questioned." Fed. R. Evid. 201(b) ; see, e.g. , In re Wash. Mut., Inc. Sec., Derivative & ERISA

Litig. , 259 F.R.D. 490, 495 (W.D. Wash. 2009) (taking judicial notice of uncontested conference

call transcripts in securities fraud action); In re Pixar Sec. Litig. , 450 F.Supp.2d 1096, 1100

(N.D. Cal. 2006) (same). But accuracy is only part of the inquiry under Rule 201(b). A court

must also consider—and identify—which fact or facts it is noticing from such a transcript. Just

because the document itself is susceptible to judicial notice does not mean that every assertion of

fact within that document is judicially noticeable for its truth. However, here the facts stated in

the disclosure under the required penalty of perjury are made by the plaintiffs themselves, not by

some third party.
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2)Exhibit “B” is the true and correct copy of SEC regulatory filing for Anthem Holdings Co.,

which clearly is signed under penalty of perjury on 10 November 2020, request is made for

Judicial Notice of the date this document is signed and for the following information in regards

to the SEC Regulatory D filing made for Anthem Holdings Co. as attached herewith as Exhibit

“B”

           1.   Anthem Holdings Co. filed SEC regulatory D filing, signed by its then general

                counsel on 10 November 2020

           2. At the time the Regulation D filing was made for Anthem Holdings Co. the report

                to the SEC states $1,525,000 had been sold of stock in Anthem Holdings Co. per

                the attached Regulatory form Exhibit “B”

           3. Under Section 12, of the regulatory SEC form D as attached herewith as Exhibit

                “B”, it was reported there was NO associated broker dealer or associated CRD

                number

           4. Under Section 10 of attached Exhibit “B” the regulatory filing for Anthem

                Holdings Co. they reported and checked the box “NO” in answer to the query

                made: “Is this offering being made in connection with a business combination

                transaction, such as a merger, acquisition or exchange offer?”; additional

                EMPHASIS is requested for Judicial Notice of the answer “NO” and to the fact

                the query asked by the SEC states “a business combination transaction, such as a

                merger, acquisition or exchange offer”.

           5. Under Section 7. Type of Filing the notice in Regulatory Form D for Anthem

                Holdings Co. states: “NEW NOTICE” and Date of First Sale 2020-10-27; is to

                say the first sale occurred 27 October 2020
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           6. The claim in Issuer Size states REVENUE in the range of $1 - $1,000,000



           7. The Form States “Related Persons”. Blanchard, Anthem, Hayek, Executive

               Officer and Director; Cynthia, Blanchard, Executive Officer and Director;

               Collins, Cooper, Hayek, Director; Heatwole, Mark, Hayek, Director; thus so

               stating under penalties of PERJURY that out of the presumed three (3) male

               directors, one of who is an executive officer as well, that ALL three males listed

               as directors share the IDENTICAL Middle Name: “HAYEK”.



The Court to easily determine authenticity by the SECURITIES EXCHANGE COMMISSION

(SEC), the Exhibit “B”, allows for this Court and any other Court to easily click the CIK

Number, within the Exhibit “B” document of Document 117 and be directed to:

https://www.sec.gov/edgar/browse/?CIK=0001830762 where the Court can then confirm it is

from a UNITED STATES Federal Government Website and can click the link in the file taking

the Court or any other to:

https://www.sec.gov/Archives/edgar/data/1830762/000183076220000001/xslFormDX01/primar

y_doc.xml Which is a file repository located on the website SEC.gov a government website.



3) Exhibit “C” a true and correct copy of the report of IAPD generated on CHAD MITCHELL

KOEHN. The IAPD Report of CHAD MITCHELL KOEHN CRD # 2216169 states among

other things the following which is requested the Court now take JUDICIAL NOTICE

concerning the IAPD Report attached herewith and incorporated by Reference as Exhibit “C”:
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           1.   Name on the IAPD Report attached and incorporated by reference for the Judicial

                Notice is: CHAD MITCHELL KOEHN

                   a. CRD # 2216169

           2. States that he, CHAD MITCHELL KOEHN works for UNITED CAPITAL

                MANAGEMENT OF KANSAS INC.

                   a. CRD # 157755

           3. Disclosure Information Shows 3 (three) Customer Disputes

           4. “Registration & Employment History”; States he, Chad Mitchell Koehn, was

                previously registered with SA STONE WEALTH MANAGEMENT INC. CRD #

                18456 until 10/30/2020 [30 October 2020]



           5. Under heading “Employment History”; It states Chad Mitchell Koehn is

                employed in the positions of: “Chief Compliance Officer and Investment

                Adviser Representative for United Capital Management of Kansas Inc.” from

                “07/2011 to present”.



           6. Under the Heading “Other Business Activities”; the Extensive list is VOID of any

                mention of either: ANTHEM HOLDINGS CO. or HERA SOFTWARE

                DEVELOPMENT INC.

           7. Sourced at: https://brokercheck.finra.org/individual/summary/2216169



4) Exhibit “D”; Please take Judicial Notice this document is signed under penalties of perjury by

“CHAD KOEHN” who prints his name as “CHAD KOEHN” dating the form “07/20/2022” and
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listing “Adviser CRD Number: 157755” with the title: “OWNER”. FORM ADV: “UNIFORM

APPLICATION FOR INVESTMENT ADVISER REGISTRATION AND REPORT BY

EXEMPT REPORTING ADVISERS for the Primary Business Name: UNITED CAPITAL

MANAGEMENT OF KANSAS, INC. CRD Number: 157755 under Rev. 10/2021 filed:

“7/20/2022 12:40:28 PM” is attached herewith as

https://adviserinfo.sec.gov/firm/summary/157755 If it now pleases the Court to Confirm the

readily available documents as found at the URL above. Viewing the Current ADV form as

previously so requested for Judicial Notice; found at the specific link, which is also available

from the above herein referenced URL, by clicking the box labeled “VIEW LATEST FORM

ADV FILED”



5) Exhibit “E” attached hereto and incorporated herein by reference is the true and correct

EDGAR [Electronic Data Gathering Analysis Retrieval] document in XML format from the data

analytics for the Securities and Exchange Commission (SEC); for the filing of Anthem Holdings

Co. Regulatory Form D with the SEC. The Form XML is also found online at:

​https://sec.report/Document/0001830762-20-000001/primary_doc.xml



6) Exhibit F, is the true and correct “Screen Print” of information on CHAD MITCHELL

KOEHN from Broker Check, made on 29 July 2022, as noted on the printed document pages

annexed hereto and so attached and incorporated herein as Exhibit F. The Document referenced

states the name: “CHAD MITCHELL KOEHN” and “CRD# 2216169”; noting that Chad

Mitchell Koehn is a “Previously Registered Broker” and indicating he, Chad Mitchell Koehn is a

currently registered “Investment Adviser”; this document also demonstrates at least 3 Disclosure
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notices; Under previous registrations it lists: SA STONE WEALTH MANAGEMENT INC.

(CRD#18456) found online at: https://brokercheck.finra.org/individual/summary/2216169



7) Exhibit G, attached herewith, The CRYPTO CURRENCY stock COIN created from ICO

(Initial Coin Offering) HERC also known as Hercules, which has the contract address of:

0x2e91E3e54C5788e9FdD6A181497FDcEa1De1bcc1

lists publicly more than 14,500 individual INVESTOR addresses as found online at:

https://etherscan.io/token/0x2e91E3e54C5788e9FdD6A181497FDcEa1De1bcc1



8) Exhibit H, is a true and correct copy of a LAWSUIT filed against Anthem Vault Inc. filed by

AMERICAN EXPRESS BANK, NORTH AMERICA. See the Exhibit H, litigation filed in

Texas, listing as the plaintiff in the action: AMERICAN EXPRESS NATIONAL BANK and as

the defendants in the titled action: Anthem Vault Inc. and Anthem H. Blanchard as Defendants.

JUDICIAL NOTICE regarding the Lawsuit filed by AMERICAN EXPRESS NATIONAL

BANK against Anthem H. Blanchard and Anthem Vault Inc. is requested as to the attached

herewith and thus incorporated herein Exhibit “H” and as to the following facts:

           1.   Date Filed: 9/28/2020 10:23 AM

           2. District Clerk: Velva L. Price District Clerk

           3. Filed in Travis County [the State of Texas]

           4. Case Number: D-1-GN-20-005322

           5. Signed by: Victoria Benavides

           6. The Case identifier is Case No.: D-1-GN-20-005322

           7. In the District Court of Travis County, TEXAS, 261st Judicial District
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           8. Defendants are listed as:

                   a. Defendant ANTHEM H. BLANCHARD (SSN: ***-**-*353) is a resident

                      of TRAVIS County, Texas, and may be served with process at 2407 S

                      CONGRESS AVE, STE E287, AUSTIN TX 78704 or at any other address

                      where Defendant may be found.

                   b. Defendant ANTHEM VAULT INC. is a For-Profit Corporation on which

                      service of process can be effectuated by serving its Registered Agent,

                      CYNTHIA DIANE BLANCHARD, at 1333 SHORE DISTRICT DRIVE

                      #1463, AUSTIN, TX 78741.

Source Online, this is a COURT Record, there are no easier to authenticate records than those

from the Courts:

https://bafybeied4mlf3xa2qr6rhaewg4465vlzmrpk3dfxpwc72vmb5lus3jxx7m.ipfs.dweb.link/AN

THEM-HAYEK-BLANCHARD-AnthemGold-AnthemVault-Lawsuits-AMEX.pdf



Exhibit “I” hereto and incorporated herein by reference if it pleases the Court please find a true

and correct Texas Secretary of State recital demonstrating an entity called: “ANTHEM VAULT

BUNKER LLC”, on register and file with the Texas Secretary of State, this is made for judicial

notice demonstrable by the attached and thus annexed herewith and incorporated herein Exhibit

“I”, demonstrating the EXACT SAME address as previously so herein noticed to the Court for

judicial notice regarding Anthem Holdings Company and its SEC regulatory filings under

Regulation D among others. Wherein this Exhibit “I” provides the following: “Anthem Vault

Bunker, LLC Address: 550 CLUB DR STE 445 MONTGOMERY, TX 77316-3096 USA”,

request is herein so made for Judicial Notice as to Exhibit “I” and the information contained
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therein. This information is authenticated by the document, opposing counsel has had no issue

with this document in the past.



Exhibit “J” is offered and so requested for Judicial Notice regarding the Texas Secretary of

State information as to “Anthem Gold Inc.”. Especially given the address used for Anthem Gold

Inc. being one and the same as herein noticed for judicial notice as to the identical addressing

used for BOTH Anthem Holdings Company AND for Anthem Bunker LLC. Demonstrable by

the attached herewith and thus incorporated hereupon Exhibit “J”, lists the following information

within the Exhibit “J” therefore the Court here now being so requested for Judicial Notice and

so provided with the information to so take the Judicial Notice as requested including without

limitation as to: “AnthemGold, Inc. Address: 550 CLUB DR STE 445 MONTGOMERY, TX

77316 USA”; additional and SPECIAL EMPHASIS as to Judicial Notice within Exhibit “J”

attached herewith is requested as to, the “history” and “prior use” as to the alternative name or

rather name prior use of the SAME legal entity being: ​”HayekGold, Inc.” and as to the Date

upon which the Exhibit “J” so dictates via the Texas Secretary of State as the date when

HAYEKGOLD Inc. became “inactive”: “August 17, 2016”. Together with the requests

made herein above and given the information so provided as to Exhibit “J” it is additionally

requested within the order of the Court that the Court take Judicial Notice of the Tax ID Number:

“32060868604”; as well as to the filing ID Number: “802486716”; and as to: “Original Date of

Filing: June 23, 2016”, especially as the “ORIGINAL DATE OF FILING” relates to the date of

“INACTIVE” use of the prior name. This information is authenticated by the document,

opposing counsel has had no issue with this document in the past.
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Exhibit “K”, from the Texas Secretary of State for the foreign registration of the Corporation

known as: “ANTHEM VAULT INC.” is so requested for Judicial Notice and as to the document

in Exhibit “K”, together with the emphasis provided in requested Order of the same in regards to

the information so provide and upon Judicial Notice so requested as to: “Filing Number:

802471043”, stated in Exhibit “K”; Original Filing Date: “Original Date of Filing: June 2,

2016”; as to “ Name: Anthem Vault, Inc., Address: 2375 E Tropicana Ave #416, Las Vegas, NV

89119 USA”; EMPHASIS as to the address used and the name for the registered agent in Texas

thereof ANTHEM VAULT INC. “Paul Aubert 550 Club Dr., Suite 445 Montgomery, TX 77316

USA”, the address is the IDENTICAL address used for Anthem Holdings Company, Anthem

Bunker LLC, Anthem Gold Inc., and thus also formerly HAYEKGOLD Inc. having provided the

information and so now herein and therefore aforementioned requested that Judicial Notice be so

taken by this Honorable Court and that the said information has been so provided in Exhibit “K”

attached herewith and referenced for the Court to do now as it should in accordance with Federal

Rules of Civil Procedure to take said requested Judicial Notice and file an order of the same.

Because of the importance to the case at bar in the tracking of the mess of corporations, self

created merger subs, the origination corporations the Exhibit “K” does contain a Federal

Employer Identification Number, so stating: “FEIN: 274988721”, which Judicial Notice is also

so requested as to the information provided in Exhibit “K” as to the “FEIN” so provided, in

Exhibit “K” which references: “Filing Number: 802471043”. This information is authenticated

by the document, opposing counsel has had no issue with this document in the past.



Exhibit “L” is so herein provided annexed hereto and thus attached herewith and incorporated

herein by reference from the Texas Secretary of State, as to AnthemGold Inc. and “AGLD
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Acquisition Corporation”, demonstrating a filing date of “October 10, 2019”, see Exhibit “L”.

As to the IDENTICAL address as so stated and used herein above as to AnthemGold Inc.,

HayekGold Inc., Anthem Bunker LLC, Anthem Holdings Company, and now as to “AGLD

Acquisition Corporation”, being: ​”AnthemGold, Inc. Address: 550 CLUB DR STE 445

MONTGOMERY, TX 77316 USA”, request so made for judicial notice and to the information as

so provided within Exhibit “L”. The date upon which of filing number as stated in Exhibit “L”:

“Filing Number: 802486716”, which bears therewith the Tax Identification Number: “Tax ID:

32060868604”; and together with Judicial Notice as to the fact within Exhibit “L” for the filing

thereof it is VOID of a “FEIN”, as to this acquisition corporation, filed to hide, obsurfacate and

otherwise conceal the underlying AnthemGold Inc. corporation within the Texas State Records.

This information is authenticated by the document, opposing counsel has had no issue with this

document in the past.

                    Legal Authority for the Court to Take Judicial Notice:

As to taking judicial notice of online government records; as to Exhibits A through C Wells

Fargo Bank, N.A. v. Wrights Mill Holdings, 2 LLC, 127 F. Supp. 3d 156, 166 (S.D.N.Y. 2015)

(taking judicial notice of online government records) Fed. R. Evid. 902(5), which provides that

“official publications” are self-authenticating. Fed. R. Evid. 902(5) defines “official

publications” to include “a book, pamphlet or other publication purporting to be issued by a

public authority.” Although electronically stored information (“ESI”) is not specifically

mentioned in the Rule, courts have held that ESI is included in the phrase “other publications.”

See, e.g., Williams v. Long, 585 F. Supp. 2d 679, 688 n. 4 (D. Md. 2008) (Rule 902(5) provides

for self-authentication of “other publications” and it is the act of posting information on the

Internet by a qualifying public authority that is the act of publication). As a general rule, because
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records and information located on government websites are self-authenticating under Fed. R.

Evid. 902, the courts will typically take judicial notice of the content on the government’s

website. Newton v. Holland, 2014 WL 318567 (E.D. Ky. Jan. 29, 2014). That includes judicial

notice of the content on federal, state and municipal agencies’, departments’ and other entities’,

including government-owned corporations’ websites. (citations omitted). Courts have also taken

judicial notice of the content of foreign governments’ websites, particularly to establish the law

of the relevant foreign jurisdiction. United States v. Broxmeyer, 699 F. 3d 265, 296 (2d Cir.

2012). Courts commonly take judicial notice of website data compiled or generated by a

governmental entity for the truth of the matters asserted, provided that the facts at issue are not

subject to reasonable dispute.Under Federal Rules 201c(2), it the Rule and thus law codified by

the Congress of these the United States of America and amended per law under the Rules

Enabling Act, as promulgated by the United States Supreme Court, with the final approval by the

Congress of the United States of America therefore codified law of these the United States of

America under Constitutional Authority states:


       “must take judicial notice if a party requests it and the court is supplied with the
necessary information.”


WHEREFORE it is the pro se defendant’s prayer for relief:

       That this Honorable Court take Judicial Notice of the FACTS as referenced and

incorporated herein above as true, issuing an order demonstrating the Court has taken Judicial

NOTICE as to the facts rendered herein and referenced by the annexed hereto attached Exhibits

“A” through “L” as made alphabetically A, B, C, D, E, F, G, H, I, J, K, L
                                                                                                    13

       A document filed pro se is "to be liberally construed," Estelle, 429 U.S., at 106, 97 S.Ct.

285, and "a pro se complaint [pleading], however inartfully pleaded, must be held to less

stringent standards than formal pleadings drafted by lawyers," ibid. Cf. Fed. Rule Civ. Proc. 8(f)

("All pleadings shall be so construed as to do substantial justice"). In the interests of substantial

justice and to prevent manifest injustice the Courts generally reviewed “filings generously and

with the leniency due pro se litigants”, see Erickson v. Pardus, U.S. 127 S.Ct. L.Ed.2d (2007);

Andrews v. Heaton, 483 F.3d (10th Cir.2007).




Respectfully Submitted, this 13th day of September 2022.
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       Certificate of Service:


       The undersigned hereby certifies that, on this same date, I filed the foregoing with the
Clerk of the Court via electronic-mail: KSD_Clerks_Topeka
<KSD_Clerks_Topeka@ksd.uscourts.gov> which will send notice of its filing electronically
to the attorneys of record, as per the local rules and FRCP, and as to all future filings and
pleadings of whatever nature are necessary in this above herein captured matter, per Local
Rule 77.1;


Respectfully Submitted, this 13th day of September 2022.
